

People v Alas (2016 NY Slip Op 04393)





People v Alas


2016 NY Slip Op 04393


Decided on June 8, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RANDALL T. ENG, P.J.
WILLIAM F. MASTRO
JOSEPH J. MALTESE
HECTOR D. LASALLE, JJ.


2013-09070

[*1]People of State of New York, respondent, 
vMelvin Alas, appellant.


Seymour W. James, Jr., New York, NY (Natalie Rea of counsel), for appellant.
Richard A. Brown, District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, William H. Branigan, and Anish M. Patel of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from an order of the Supreme Court, Queens County (Koenderman, J.), dated August 26, 2013, which, after a hearing, designated him a level two sex offender pursuant to Correction Law article 6-C.
ORDERED that the order is affirmed, without costs or disbursements.
Contrary to the People's contention, this appeal from an order designating the defendant a level two sex offender pursuant to the Sex Offender Registration Act (see Correction Law article 6-C; hereinafter SORA) should not be dismissed on the ground that the defendant has been deported (see People v Shim, _____ AD3d _____, 2016 NY Slip Op 01818 [2d Dept 2016]; People v Ibarra, 137 AD3d 1097).
In establishing a defendant's risk level pursuant to SORA, the People bear the burden of establishing, by clear and convincing evidence, the facts supporting the determinations sought (see Correction Law § 168-n[3]; People v Pettigrew, 14 NY3d 406, 408; People v Mingo, 12 NY3d 563, 571). In assessing points, evidence may be derived from the defendant's admissions, the victim's statements, evaluative reports completed by the supervising probation officer, the parole officer, or the correction counselor, case summaries prepared by the Board of Examiners of Sex Offenders (hereinafter the Board), or any other reliable source, including reliable hearsay (see People v Mingo, 12 NY3d at 571-573; People v Sanchez, 136 AD3d 1007; People v Arocho, 130 AD3d 996, 997). Contrary to the defendant's contention, the Supreme Court properly assessed 20 points against him under risk factor 4 for engaging in a continuing course of sexual misconduct against the victim. The assessment of these points was supported by clear and convincing evidence in the record, including the Board's case summary, the presentence report, and the felony complaint (see People v Arocho, 130 AD3d at 997; People v DeJesus, 127 AD3d 1047; People v Patronick, 117 AD3d 1018, 1019).
ENG, P.J., MASTRO, MALTESE and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








